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                          UNITED STATES DISTRICT COURT
                              Southern District of Indiana
                                  Evansville Division
 ROBERT CHENAULT and                               )
 LANA CHENAULT                                     )
           Plaintiffs                              )
                                                   )
                vs.                                )    CASE NO.: 3:12-cv-0144-RLY-WGH
                                                   )
 JAMES GORIS, M.D.;                                )
 DEACONESS HOSPITAL, INC. d/b/a                    )
 DEACONESS GATEWAY HOSPITAL;                       )
 ORTHOPAEDIC ASSOCIATES, INC.                      )
           Defendants                              )




                STIPULATION OF DISMISSAL WITH PREJUDICE
        COME NOW the Parties, to wit: Plaintiffs Robert Chenault and Lana Chenault, by
 counsel Deborah K. Pennington; Defendant Deaconess Hospital, Inc. d/b/a Deaconess Gateway
 Hospital, by counsel James L. Whitlatch; and, Defendants James Goris, M.D. and Orthopaedic
 Associates, Inc., by counsel James N. Martin, and hereby stipulate to dismissal of this matter,
 with prejudice, for the reason that this matter has been settled among the parties
        WHEREFORE, the parties respectfully request the Court to dismiss this cause of action
 with prejudice, and for all other just and proper relief in the premises.

                                               Respectfully submitted,

  Date: September 30, 2014                     Attorney for Plaintiffs
                                               Robert Chenault and Lana Chenault

                                               /s/ Deborah K. Pennington
                                               Deborah K. Pennington, #6559-36
                                               GARAU GERMANO HANLEY
                                                   & PENNINGTON, P.C.
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                                           Attorney for Defendant
                                           Deaconess Hospital, Inc.
                                           d/b/a Deaconess Gateway Hospital

                                           /s/ James L. Whitlatch
                                           James L. Whitlatch, #2135-53
                                           BUNGER & ROBERTSON
                                           jwhit@lawbr.com



                                           Attorney for Defendants
                                           James Goris, M.D., and Orthopaedic Associates, Inc:

                                           /s/ James N. Martin
                                           James N. Martin, #28668-10
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 Joint Motion Prepared and Submitted by:
 James L. Whitlatch, #2135-53
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